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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 4.0.3
                                 Eastern Division

Salud Natural Entrepreneur, Inc.
                                           Plaintiff,
v.                                                          Case No.: 1:09−cv−04417
                                                            Honorable James B. Zagel
Nutricentro Internacional, Inc., et al.
                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, May 10, 2010:


        MINUTE entry before Honorable James B. Zagel:Status hearing held on
5/10/2010. Motion for entry of default judgment as to defendant Azteca Productos, Inc.
[48] is granted. Injunction order to enter.Mailed notice(drw, )




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